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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                          GALVESTON DIVISION

MICHAEL PELTIER AND            §
KELLY PELTIER                  §
    Plaintiffs,                §
                               §
V.                             §                                 CA NO. 3:17-cv-00202
                               §
STGJ ENTERPRISES, LLC          §
D/B/A SMI AGENCY, LERETA, LLC, §
AND WRIGHT NATIONAL FLOOD      §
INSURANCE                      §
     Defendants.               §

        DEFENDANT STGJ ENTERPRISES, LLC D/B/A SMI AGENCY’S
                   FIRST AMENDED CROSS-CLAIM

TO THE HONORABLE U.S. DISTRICT JUDGE GEORGE C. HANKS, JR.:

      Defendant/Cross-Plaintiff, STGJ ENTERPRISES, LLC d/b/a SMI AGENCY

(“SMI”) files its First Amended Cross-Claim against Defendants/Cross-Defendants

LERETA, LLC and Wright National Flood Insurance as follows:

                                          1.
                                       PARTIES

      1.1    Plaintiffs are Michael Peltier and Kelly Peltier.

      1.2    Defendant/Cross-Plaintiff is STGJ ENTERPRISES, LLC d/b/a SMI

AGENCY (“SMI”).

      1.3    Defendants/Cross-Defendants are LERETA, LLC and Wright National

Flood Insurance (“Wright”).
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                                           2.
                                  FACTUAL BACKGROUND

        2.1        Plaintiffs’ First Amended Complaint (Dkt. No. 23) alleges the following

causes of action against SMI and the other Defendants: 1) violations of the Texas

Deceptive Trade Practices Act; 2) violations of the Texas Insurance Code; and 2)

negligent misrepresentation.

        2.2        Specifically, Plaintiffs allege that they purchased a flood policy for their

residence in Galveston, located at 2705 Ave. O (the “Property”), based on a quote they

received for an annual premium of $430.00. That quote was based on the location of the

Property “in a ‘preferred flood zone,’” which has lower flood premiums that properties in

areas that FEMA has identified as a higher flood risk.

        2.3        Plaintiffs claim that they relied on the flood risk and premium information

when they closed on the purchase of the Property. Plaintiffs allege that they were

subsequently informed the premium was misquoted due to an error in describing the

location of the Property in a “preferred zone.” Instead, Plaintiffs allege, their flood policy

premium was $3,000 more than initially quoted.

        2.4        On April 2, 2015, SMI provided a preferred flood non-binding quote to

Plaintiffs for the Property with a one-year premium of $430.00. This quote was based on

information provided by Defendant LERETA, LLC regarding the flood zone for the

Property. Defendant Wright uses LERETA, LLC for flood zone determinations.

        2.5        LERETA, LLC provided a Standard Flood Hazard Determination Form,

dated March 27, 2015, that identified Flood Zone X for the Property.



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        2.6        LERETA, LLC also provided SMI with a Standard Flood Hazard

Determination Form dated July 6, 2015, that again identified Flood Zone X for Plaintiff’s

residence.

        2.7        Plaintiffs’ mortgage provider subsequently determined that the Property is

located in Flood Zone AE, contrary to the information provided by LERETA, LLC.

                                   3.
                CROSS-CLAIM FOR CONTRIBUTION AGAINST
           LERETA, LLC AND WRIGHT NATIONAL FLOOD INSURANCE

        3.1        SMI incorporates by reference the allegations set forth above as if fully set

forth herein.

        3.2        Cross-Plaintiff SMI asserts a cross-claim for contribution against

Defendants/Cross-Defendants LERETA, LLC and Wright National Flood Insurance.

        3.3        SMI’s Cross-Claim arises out of the same transaction or occurrence that is

the subject matter of the original action herein. Cross-Defendants LERETA, LLC and

Wright are liable to SMI for all or part of Plaintiffs’ claims asserted against SMI in this

lawsuit.

        3.4        In the unlikely event SMI is found liable to Plaintiffs in any respect, SMI

asserts the damages claimed by Plaintiffs were proximately caused by the acts or

omissions of Cross-Defendants, who are in the business of identifying flood zone

designations, writing and issuing flood insurance; and who actually misquoted the flood

zone designation and placed the insurance policy based on the misquoted flood zone

designation.




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        3.5        As such SMI is forced to file this Cross-Claim against LERETA, LLC and

Wright. The damages sought are within the jurisdictional limits of this Court.

        3.6        SMI requests that any damages awarded against it be reduced by the

proportion of responsibility attributed to Cross-Defendants, Plaintiffs and any responsible

third parties, pursuant to TEX. CIV. PRAC. & REM. CODE §§ 33.001, et seq.

                              4.
                CROSS-CLAIM FOR NEGLIGENCE
             AND NEGLIGENT MISREPRESENTATION
  AGAINST LERETA, LLC AND WRIGHT NATIONAL FLOOD INSURANCE

        4.1        SMI incorporates by reference the allegations set forth above as if fully set

forth herein.

        4.2        SMI denies it committed any wrongful acts of negligent misrepresentation,

violations of the Texas Deceptive Trade Practices Act, or violations of the Texas

Insurance Code.

        4.3        In the unlikely event that SMI is found liable to Plaintiffs, then SMI asserts

Plaintiffs’ damages, if any, are attributable to the negligence and negligent

misrepresentation made by LERETA, LLC and/or Wright National Flood Insurance to

Plaintiffs with respect to their identification of the wrong flood zone and placing a policy

of flood insurance with the wrong flood zone for Plaintiffs’ home.

                                               5.
                                         JURY DEMAND

        SMI demands a jury trial and will timely tender the jury fee.




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        WHEREFORE, PREMISES CONSIDERED, Defendant STGJ Enterprises, LLC

d/b/a SMI Agency prays that it recover its damages against Cross-Defendants and for

such further relief to which it may show itself justly entitled.

                                           Respectfully Submitted,

                                           ROYSTON, RAYZOR, VICKERY & WILLIAMS,
                                           L.L.P.

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                             CERTIFICATE OF SERVICE

      This will certify that a true and correct copy of the foregoing has been served on
counsel for all parties via the Court’s CM/ECF system on this 7th day of August 2017.

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